
Quillian, Presiding Judge.
The defendant, a juvenile, appeals the judgment of delinquency. He contends that the evidence was insufficient to support the prosecution since it was predicated solely on the corroborating testimony of a co-participant. Citing Code § 38-121 it is urged that, as in á criminal prosecution, corroboration of an accomplice’s testimony is essential. Held:
In numerous decisions our courts have held that corroboration of an accomplice is not necessary to sustain a misdemeanor conviction. Martin v. State, 17 Ga. App. 372 (1) (86 SE 945) and cits.; Fields v. State, 88 Ga. App. 770 (1) (77 SE2d 751). For, Code § 38-121 specifically requires corroboration "in any case of felony,” otherwise, "the testimony of a single witness is generally sufficient to establish a fact.” Since this was not a felony case, we therefore find there was some evidence to sustain the defendant’s adjudication as a delinquent.

Judgment affirmed.


Webb and McMurray, JJ., concur.

